                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )       No. 2:14-CR-048
                                                 )
 KENDRICK TODD STANLEY                           )


                            MEMORANDUM AND ORDER


              The defendant moves for a continuance of his trial date [doc. 42], citing the

 need for additional time to conduct plea negotiations. The defendant also cites the

 unavailability of both defense counsel and government counsel.

              The court finds the motion well-taken, and it will be granted. The court

 finds that the ends of justice served by granting the motion outweigh the best interests of

 the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). In light of the

 reasoning set forth by the defendant, the court finds that the failure to grant the motion

 would deny the defense reasonable time necessary for effective preparation. 18 U.S.C. §

 3161(h)(7)(B)(iv).    Additionally, the unavailability of counsel would make trial

 impossible on the date currently scheduled. 18 U.S.C. §3161(h)(7)(B)(i). The motion

 requires a delay in the proceedings. Therefore, all the time from the filing of the motion

 to the new trial date is excludable as provided by the Speedy Trial Act. 18 U.S.C. §

 3161(h)(7)(A).




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              It is hereby ORDERED that the defendant’s motion [doc. 42] is

 GRANTED, and this criminal case is CONTINUED from July 23, 2014, to Wednesday,

 October 15, 2014, at 9:00 a.m. (a date requested by the defendant). The new plea cutoff

 date is October 1, 2014.

             IT IS SO ORDERED.

                                                     ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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